       Case: 4:18-cv-00118-DMB-JMV Doc #: 10 Filed: 08/17/18 1 of 1 PageID #: 46

                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION



DIANNE LODEN
Individually and on Behalf of all
Wrongful Death Beneficiaries of
Jeffrey A. Davis                                                                      PLAINTIFF

V.                                                      CAUSE NO. 4:18CV00118-DMB-JMV

MISSISSIPPI DEPARTMENT
OF CORRECTIONS, ET AL.                                                           DEFENDANTS



                         ORDER STAYING CERTAIN PROCEEDINGS


         This case comes before the Court pursuant to L.U.CIV.R. 16(b)(3)(B). The rule provides

that

       [f]iling a motion to compel arbitration, or a motion asserting an immunity defense or
       jurisdictional defense stays the attorney conference and disclosure requirements and all
       discovery, pending the court’s ruling on the motion, including any appeal. Whether to permit
       discovery on issues related to the motion and whether to permit any portion of the case to
       proceed pending resolution of the motion are decisions committed to the discretion of the
       court, upon a motion by any party seeking relief.

       Defendant filed a motion [7], asserting the defense of Eleventh Amendment

immunity on August 16, 2018. Accordingly, it is ORDERED:

         That the proceedings referenced in local rule 16(b)(3)(B) are STAYED pending a

decision on the motion [7].

         THIS, the 17th day of August, 2018.



                                                      /s/ Jane M. Virden
                                                      U. S. Magistrate Judge
